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Attorneys for Defendant Darren Brinkley



                         IN THE UNITED STATES DISTRICT COURT

                    FOR THE DISTRICT OF UTAH, CENTRAL DIVISION



 CRIMINAL PRODUCTIONS, INC.,                          DEFENDANT DOE NUMBER
                                                      15/DARREN BRINKLEY’S MOTION
                Plaintiff,                            FOR LEAVE TO SUPPLEMENT
                                                      RECORD
 vs.

 DOES 1–32,                                           Civil No. 2:17-cv-00550

                Defendants.                           Judge Nuffer


       Defendant and Counterclaim-plaintiff Darren Brinkley (“Brinkley”) hereby moves for leave

of court to supplement both his pending Motion for Attorney Fees [Dkt. No. 65] and also further

respond to Plaintiff’s Response to Order to Show Cause [Dkt. No. 83], as follows.

       Before the instant case was dismissed, Brinkley’s counsel Lisa Clay was scheduled, in

another BitTorrent matter pending in Nevada, to take the deposition of Plaintiff’s two key BitTorrent

witnesses—witnesses whose testimony would have meaningful application to this case: Benjamin
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Perino and Daniel Arheidt. Attorney David Madden recently took the deposition of Mr. Perino in

another matter and agreed to author the declaration attached hereto as Exhibit 1 for Attorney Clay,

so that she could provide the Court in pending matters across the country with this important

information.

       The declaration lays bare the paucity of Plaintiff’s evidentiary position in the form of an

admission from Mr. Perino that no underlying evidence of infringement is preserved. See

Declaration of David H. Madden, attached hereto as Exhibit 1 at 12–13. Brinkley suggests that this

information is sufficiently significant to warrant supplementation of his prior Motion for Attorney

Fees. The Court may also wish to factor this information into its ongoing review and evaluation of

BitTorrent cases generally, as outlined in the Court’s Order to Show Cause [Dkt. No. 83].

       Local civil rule 7-1 (b)(4), Citations of Supplemental Authority, states as follows:

       When pertinent and significant authorities come to the attention of a party after the
       party’s memorandum has been filed, or after oral argument but before decision, a
       party may promptly file a notice with the court and serve a copy on all counsel,
       setting forth the citations. There must be a reference either to the page of the
       memorandum or to a point argued orally to which the citations pertain, but the notice
       must state, without argument, the reasons for the supplemental citations. Any
       response must be made, filed promptly, and be similarly limited.

       First, as to Brinkley’s request for fees, Brinkley asks this Court to apply the four so-called

“Fogerty” factors: (1) frivilousness; (2) motivation; (3) objective unreasonableness; and (4) the need

in particular circumstances to advance consideration of compensation and deterrence. See Dkt. No.

65 at 5–6. Attorney Madden’s declaration goes to the heart of all four factors. If Plaintiff is on

record as not having preserved any of the purported evidence it relies upon to file its claims, Brinkley

notes that would suggest the claim was frivolous; that Plaintiff’s motivations had nothing to do with

the protection of a copyright and everything to do with the improper purpose of coercing innocent

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victims into unreasonable settlement, as these facts certainly seem to indicate; that the complaint and

the claims made therein could be— indeed, should be—deemed objectively unreasonable by this

Court; and that, arguably most importantly, the goal of deterring frivolous claims would weigh in

favor of a fee award to prevailing parties defendant.

       Second, on December 20, 2018, this Court entered an Order to Show Cause [Dkt. No. 82]

requiring Plaintiff, in relevant part, to “provide the current state of each of the Does named as

Defendants in this case. . . .” On January 17, 2019, Plaintiff filed a Response to Order to Show

Cause that misrepresented the status of the matters relating to Doe Number 15, Darren Brinkley,

which Brinkley previously addressed with the Court. Plaintiff’s responses to that Order, in the form

of a status report [Dkt. No. 83] and a Response Brief [Dkt. No. 97] were deemed insufficient by this

Court in its Order of March 15, 2019 [Dkt. No. 89]. Brinkley submits that the Court may wish to

make further inquiry into the testimony of Mr. Perino or, at minimum, take heed of Attorney

Madden’s warning regarding the danger of authorizing early discovery based on form declarations.

See Exhibit 1 at 14.

       WHEREFORE, Brinkley seeks leave of this Court to file the attached Exhibit 1 as a

supplement to his pending Motion for Attorney Fees, and further invites the Court to utilize the

declaration in furtherance of its ongoing review of BitTorrent cases.

       DATED this 28th day of March 2019.

                                               HOOLE & KING, L.C.

                                               /s/ Gregory N. Hoole
                                               Gregory N. Hoole
                                               Attorneys for Defendant Darren Brinkley




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                           LISA L. CLAY, ATTORNEY AT LAW

                           /s/ Lisa L. Clay
                           (signed with permission)
                           Lisa L. Clay
                           Attorneys for Defendant Darren Brinkley




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                                CERTIFICATE OF SERVICE

       I hereby certify that on the 28th day of March 2019, a true and correct copy of the foregoing

document was filed electronically with the Court using the CM/ECF system, which sent notice of

the same via email to all CM/ECF participants who have appeared in this case.


                                             /s/ Gregory N. Hoole




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